Case 1:22-pr-09999-UNA Document 90-1 Filed 09/09/22 Page 1 of 23




                    ATTACHMENT
                              A
                  Redacted Docket Materials
   CaseCase 1:22-pr-09999-UNA
        1:19-pr-00311-RMM      Document
                           *SEALED*     90-1 Filed
                                    Document       09/09/22
                                              1 Filed        PagePage
                                                       12/16/19   2 of 123of 12




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

IN RE APPLICATION OF USA FOR
PRTT ORDER FOR ONE RESIDENTIAL                     PR No. 19-pr-311
INTERNET SERVICE ACCOUNT
SERVICED BY COMCAST
COMMUNICATIONS, LLC FOR                            Filed Under Seal
INVESTIGATION OF VIOLATION OF
18 U.S.C. 2252 and 2252A

Reference: USAO Ref. #                   Subject Residential Internet Service Account Number

                                      FIRST APPLICATION

       The United States of America, moving by and through Assistant United States Attorney

Amy E. Larson, its undersigned counsel, respectfully submits under seal this ex parte application

for an order pursuant to 18 U.S.0 §§ 3122 and 3123, authorizing the installation and use of a pen

register and trap and trace device ("pen-trap device") to record, decode, and/or capture dialing,

routing, addressing, and signaling information associated with each access to, and

communication to or from the residential internet service account identified as Account number

                     (hereinafter "SUBJECT ACCOUNT"), listed to

                                                   which is believed to be used by

        who is the subject of the investigation discussed below. In support of this application,

the United States asserts:

       1.      This is an application, made under 18 U.S.C. § 3122(a)(1), for an order under 18

U.S.C. § 3123 authorizing the installation and use of pen-trap devices.

       2.      Such an application must include three elements: (1) "the identity of the attorney

for the Government or the State law enforcement or investigative officer making the application";

(2) "the identity of the law enforcement agency conducting the investigation"; and (3) "a
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        1:19-pr-00311-RMM  *SEALED*
            1:22-pr-09999-UNA       Document
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                                        90-1 Filed     12/16/19
                                                   09/09/22  PagePage
                                                                  3 of 2
                                                                       23of 12




certification by the applicant that the information likely to be obtained is relevant to an ongoing

criminal investigation being conducted by that agency.” 18 U.S.C. § 3122(b).

        3.     The undersigned applicant is an “attorney for the government” as defined in Rule

1(b)(1) of the Federal Rules of Criminal Procedure.

        4.      The law enforcement agency conducting the investigation is the he investigation is

the Federal Bureau of Investigation (hereinafter “Agency”).

        5.     The applicant hereby certifies that the information likely to be obtained by the

requested pen-trap device is relevant to this ongoing criminal investigation being conducted by the

Agency.

                                        JURISDICTION

        6.     This Court has jurisdiction to issue the requested Order because it is a “court of

competent jurisdiction” as defined by 18 U.S.C. § 3127. 18 U.S.C. § 3122(a)(1). Specifically, the

Court is a “district court of the United States . . . that – has jurisdiction over the offense being

investigated.” 18 U.S.C. § 3127(2)(A)(i). As discussed more fully below, acts or omissions in

furtherance of the offenses under investigation occurred within Washington, DC. See 18 U.S.C. §

3237.

                                ADDITIONAL INFORMATION

        7.     Other than the three elements described above, federal law does not require that an

application for an order authorizing the installation and use of a pen register and a trap and trace

device specify any facts. The following additional information is provided to demonstrate that the

order requested falls within this Court’s authority to authorize the installation and use of a pen

register or trap and trace device under 18 U.S.C. § 3123(a)(1).




                                                 2
   CaseCase
        1:19-pr-00311-RMM  *SEALED*
            1:22-pr-09999-UNA       Document
                               Document       1 Filed
                                        90-1 Filed     12/16/19
                                                   09/09/22  PagePage
                                                                  4 of 3
                                                                       23of 12




         8.    A “pen register” is “a device or process which records or decodes dialing, routing,

addressing, or signaling information transmitted by an instrument or facility from which a wire or

electronic communication is transmitted.” 18 U.S.C. § 3127(3). A “trap and trace device” is “a

device or process which captures the incoming electronic or other impulses which identify the

originating number or other dialing, routing, addressing, and signaling information reasonably

likely to identify the source of a wire or electronic communication.” 18 U.S.C. § 3127(4).

         9.    In the traditional telephone context, pen registers captured the destination phone

numbers of outgoing calls, while trap and trace devices captured the phone numbers of incoming

calls. Similar principles apply to other kinds of wire and electronic communications, as described

below.

         10.   The Internet is a global network of computers and other devices. Devices directly

connected to the Internet are identified by a unique number called an Internet Protocol, or “IP”

address. This number is used to route information between Internet-connected devices. Generally,

when one device requests information from a second device, the requesting device specifies its

own IP address so that the responding device knows where to send its response. An IP address is

analogous to a telephone number and can be recorded by pen-trap devices, and it indicates the

online identity of the communicating device without revealing the communication’s content.

         11.   A network is two or more computers or other devices connected to each other that

can exchange information with each other via some transmission method, such as by wires, cables,

or radio waves. The equipment that connects a computer or other device to the network is

commonly referred to as a network adapter. Most network adapters have a Media Access Control

(“MAC”) address assigned by the manufacturer of the adapter that is designed to be a unique

identifying number.     An adapter’s unique MAC address allows for proper routing of


                                                3
   CaseCase
        1:19-pr-00311-RMM  *SEALED*
            1:22-pr-09999-UNA       Document
                               Document       1 Filed
                                        90-1 Filed     12/16/19
                                                   09/09/22  PagePage
                                                                  5 of 4
                                                                       23of 12




communications on a local area network and may be used for other purposes, such as

authentication of customers by some network service providers. Unlike a device’s IP address that

often changes each time a device connects to the Internet, a MAC address is fixed at the time of

manufacture of the adapter. Because the address does not change and is intended to be unique, a

MAC address can allow law enforcement to identify whether communications sent or received at

different times are associated with the same adapter.

       12.     A network is two or more computers or other devices connected to each other that

can exchange information with each other via some transmission method, such as by wires, cables,

or radio waves. The equipment that connects a computer or other device to the network is

commonly referred to as a network adapter. Most network adapters have a Media Access Control

(“MAC”) address assigned by the manufacturer of the adapter that is designed to be a unique

identifying number.      An adapter’s unique MAC address allows for proper routing of

communications on a local area network and may be used for other purposes, such as

authentication of customers by some network service providers. Unlike a device’s IP address that

often changes each time a device connects to the Internet, a MAC address is fixed at the time of

manufacture of the adapter. Because the address does not change and is intended to be unique, a

MAC address can allow law enforcement to identify whether communications sent or received at

different times are associated with the same adapter.

       13.     In addition, different Internet applications are associated with different “port

numbers,” or numeric identifiers. The port number is transmitted along with any communication

using that application. For example, port 80 typically is associated with communications involving

the World Wide Web. Port numbers are also used by many wireless carriers as a method for

identifying a particular device on the wireless carrier’s network.


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   CaseCase 1:22-pr-09999-UNA
        1:19-pr-00311-RMM      Document
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                                    Document       09/09/22
                                              1 Filed        PagePage
                                                       12/16/19   6 of 523of 12




       14.     An email message has its own routing header, in addition to the source and

destination information associated with all Internet data. The message header of an email contains

the message's source and destination(s), expressed as email addresses in "From," "To," "CC"

(carbon copy), or "BCC" (blind carbon copy) fields. Multiple destination addresses may be

specified in the "To," "CC," and "BCC" fields. The email addresses in an email's message header

are like the telephone numbers of both incoming and outgoing calls because they indicate both

origin and destination(s). They can be recorded by pen-trap devices and can be used to identify

parties to a communication without revealing the communication's contents.

                                      RELEVANT FACTS

       15.     The United States government, including the Agency, is investigating crimes

involving the sexual abuse and exploitation of children, which are being facilitated via the Internet

— and more specifically,                                         which is further described below.

The investigation concerns possible violations by as-yet-unknown individuals, and their

confederates, of, inter alia, Title 18, United States Code, Sections 2252 and 2252A, et seq., to

include the production, advertisement and trafficking of, and access to, illicit child pornography.

The following factual summary is based on information provided to me in my official capacity by

FBI agents.

       16.     The conduct being investigated involves users of a

(hereinafter "TARGET WEBSITE").            TARGET WEBSITE is an actively operating child

pornography bulletin board-website dedicated to the advertisement and distribution of child

pornography and the discussion of matters pertinent to the sexual abuse of children. Review of

TARGET WEBSITE by FBI personnel acting in an undercover capacity has demonstrated the

following:


                                                 5
CaseCase 1:22-pr-09999-UNA
     1:19-pr-00311-RMM      Document
                        *SEALED*     90-1 Filed
                                 Document       09/09/22
                                           1 Filed        PagePage
                                                    12/16/19   7 of 6
                                                                    23of 12




                                    6
CaseCase 1:22-pr-09999-UNA
     1:19-pr-00311-RMM      Document
                        *SEALED*     90-1 Filed
                                 Document       09/09/22
                                           1 Filed        PagePage
                                                    12/16/19   8 of 723of 12




                                     7
CaseCase 1:22-pr-09999-UNA
     1:19-pr-00311-RMM      Document
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                                 Document       09/09/22
                                           1 Filed        PagePage
                                                    12/16/19   9 of 8
                                                                    23of 12




                                     8
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   Case    1:22-pr-09999-UNA
        1:19-pr-00311-RMM    Document
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                                   Document      09/09/22
                                             1 Filed      PagePage
                                                     12/16/19  10 of923
                                                                      of 12




       25.     As described above, the conduct being investigated involves the use of the

SUBJECT ACCOUNT. To further the investigation into the TARGET USER, investigators

need to obtain the dialing, routing, addressing, and signaling information associated with

communications sent to or from the SUBJECT ACCOUNT.

       26.     The pen-trap devices sought by this application will record, decode, and/or capture

dialing, routing, addressing, and signaling information associated with each communication to or

from each of the SUBJECT ACCOUNT, including the date, time, and duration of the

communication, and the following, without geographic limit:

       (1)     Case Identification;

       (2)     Intercept Access Point (IAP) System Identification;

       (3)     Timestamp;

       (4)     Access Session ID;

       (5)     Source IP Addresses;

       (6)     Destination IP Addresses;

       (7)     Source Port Number;

       (8)     Destination Port Number;

       (9)     Transport Protocol;

       (10)    Flow label (with respect to IPv6);

       (11)    Packet size; and

       (12) Any unique identifiers associated with devices used to access the account, including
       Media Access Control ("MAC") addresses.




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           1:22-pr-09999-UNA       Document
                              Document       1 Filed
                                       90-1 Filed     12/16/19
                                                  09/09/22  PagePage
                                                                 11 of10
                                                                       23of 12




                                  GOVERNMENT REQUESTS

       27.     For the reasons stated above, the United States requests that the Court enter an

Order authorizing the installation and use of a pen-trap device to record, decode, and/or capture

the dialing, routing, addressing, and signaling information described above for each

communication to or from the SUBJECT ACCOUNT including the date, time, and duration of the

communication, without geographic limit. The United States does not request and does not seek

to obtain the contents of any communications, as defined in 18 U.S.C. § 2510(8).

       28.     The United States further requests that the Court authorize the foregoing installation

and use for a period of sixty days from the date of the Court’s Order, pursuant to

18 U.S.C. § 3123(c)(1).

       29.     The United States further requests, pursuant to 18 U.S.C. §§ 3123(b)(2) and

3124(a)-(b), that the Court order Comcast Communications, LLC (hereinafter “Service

Provider”) and any other person or entity providing wire or electronic communication service in

the United States whose assistance may facilitate execution of this Order to furnish, upon service

of the Order, information, facilities, and technical assistance necessary to install the pen-trap

device, including installation and operation of the pen-trap device unobtrusively and with

minimum disruption of normal service. Any entity providing such assistance shall be reasonably

compensated by the FBI, pursuant to 18 U.S.C. § 3124(c), for reasonable expenses incurred in

providing facilities and assistance in furtherance of this Order.

       30.     The United States further requests that the Court order the Service Provider and any

person or entity whose assistance may facilitate execution of this Order to notify the applicant and

the FBI of any changes relating to the SUBJECT ACCOUNT, including changes to subscriber




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  CaseCase
       1:19-pr-00311-RMM  *SEALED*
           1:22-pr-09999-UNA       Document
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                                       90-1 Filed     12/16/19
                                                  09/09/22  PagePage
                                                                 12 of11
                                                                       23of 12




information, and to provide prior notice to the applicant and the Agency before terminating or

changing service to the SUBJECT ACCOUNT.

       31.     The United States further requests that the Court order that the Agency and the

applicant have access to the information collected by the pen-trap devices as soon as practicable,

twenty-four hours per day, or at such other times as may be acceptable to them, for the duration of

the Order.

       32.     The United States further requests that the Court order that Attachment A, which is

incorporated by reference in the proposed Order and which identifies the name(s) of the person(s)

under investigation, remain under seal and withheld from service upon the Service Provider. The

information in Attachment A is not needed by the Service Provider, and doing so will help

safeguard both the privacy interests of unindicted and uncharged individuals and the integrity of

the government’s ongoing investigation. As the Court is aware, persons identified by law

enforcement as “subjects” at the investigative stage of a case may ultimately never be indicted or

charged with any crimes. Yet providing the identities of such persons to commercial entities as

“subjects” needlessly exposes those persons to non-law-enforcement entities, and risks further

exposure should service providers become careless with such information or themselves have that

information breached or “hacked” by other parties. At the same time, exposing the identities of

persons considered “subjects” to service providers also puts investigations at risk, inasmuch as

persons who become aware of their identification as “subjects” can flee and destroy evidence, etc.

To be sure, Section 3123(d) contemplates the sealing of the Court’s Order, and that service

providers will comply and keep the existence of the Order secret. But especially in the age of

“internet hacking,” it is unwise to impart identification information to third parties when that

information is simply not required by those third parties and its exposure risks needless harm.


                                                11
  CaseCase 1:22-pr-09999-UNA
       1:19-pr-00311-RMM      Document
                          *SEALED*     90-1 Filed
                                   Document       09/09/22
                                             1 Filed        PagePage
                                                      12/16/19   13 of1223of 12




       33.     The United States further requests, pursuant to 18 U.S.C. § 3123(d)(2), that the

Court order the Service Provider and any other person or entity whose assistance facilitates

execution of the Court's Order, and their agents and employees, not to disclose in any manner,

directly or indirectly, by any action or inaction, the existence of this application and the Court's

Order, the resulting pen-trap devices, or this investigation, unless and until authorized by this

Court, except that the Service Provider may disclose the Order to an attorney for the Service

Provider for the purpose of receiving legal advice.

       34.     The United States further requests that this application and any resulting Order be

sealed until otherwise ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).

       35.     The United States further requests that the Clerk of the Court provide the United

States Attorney's Office with three certified copies of this application and the Court's Order upon

request, and provide copies of the Order to the Agency upon request.

       36.     The foregoing is based on information provided to me in my official capacity by

agents of the ■.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on the 16th day of December, 2019.

                                                      Respectfully submitted,

                                                      JESSIE K. LIU
                                                      UNITED STATES ATTORNEY
                                                      D.C. Bar Number 472845

                                              By:      /s// Amy E. Larson
                                                      Amy E. Larson
                                                      Assistant United States Attorney
                                                      New York Bar Number 4108221
                                                      555 Fourth Street, N.W., Room 4645
                                                      Washington, D.C. 20530
                                                      Telephone: (202) 252-7863
                                                      Email: Amy.Larson2@usdoj.gov

                                                 12
     Case
  Case     1:22-pr-09999-UNA
       1:19-pr-00311-RMM      Document
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                                    Document 1-1 09/09/22   Page 14
                                                  Filed 12/16/19    of 23
                                                                 Page   1 of 5




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

IN RE APPLICATION OF USA FOR
PRTT ORDER FOR ONE RESIDENTIAL                     PR No. 19-pr-311
INTERNET SERVICE ACCOUNT
SERVICED BY COMCAST
COMMUNICATIONS, LLC FOR                            Filed Under Seal
INVESTIGATION OF VIOLATION OF
18 U.S.C. 2252 and 2252A
                                               ORDER

       Assistant United States Attorney Amy E. Larson, on behalf of the United States, has

submitted an application pursuant to 18 U.S.C. §§ 3122 and 3123, requesting that the Court issue

an Order authorizing the installation and use of a pen registers and trap and trace devices ("pen-

trap devices") on the residential internet service account identified as Account number

                      listed to

             (hereinafter "SUBJECT ACCOUNT"), which is believed to be used by one of more

persons identified in Attachment A.

       THE COURT FINDS that an attorney for the government has submitted the application

and has certified that the information likely to be obtained by such installation and use is relevant

to an ongoing criminal investigation being conducted by the Federal Bureau of Investigation

(hereinafter "Agency") of the person(s) indicated in Attachment A, which is incorporated into this

Order by reference, [and others as yet unknown or not fully identified,] in connection with possible

violations of Title 18, United States Code, Sections 2252 and 2252A, et seq. The Court further

finds that a sufficient showing of good cause has been made for the continued sealing of

Attachment A and for the government's withholding of Attachment A from service upon the

Service Provider, in order to help ensure the privacy of the person(s) identified therein and the

integrity of the government's investigation.
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     Case                 *SEALED*
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                              Document       1-1 09/09/22
                                       90-1 Filed Filed 12/16/19  Page
                                                            Page 15     2 of 5
                                                                    of 23




       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 3123, that the Agency is

authorized to install and use pen-trap devices to record, decode, and/or capture dialing, routing,

addressing, and signaling information associated with each access to, and each communication to

or from, the SUBJECT ACCOUNT, including the date, time, and duration of the communication,

and the following, without geographic limit:

       (1)     Case Identification;

       (2)     Intercept Access Point (IAP) System Identification;

       (3)     Timestamp;

       (4)     Access Session ID;

       (5)     Source IP Addresses;

       (6)     Destination IP Addresses;

       (7)     Source Port Number;

       (8)     Destination Port Number;

       (9)     Transport Protocol;

       (10)    Flow label (with respect to IPv6);

       (11)    Packet size; and

       (12)    Any unique identifiers associated with devices used to access the account, including

Media Access Control (“MAC”) addresses.

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(c)(1), that the use and

installation of the foregoing is authorized for sixty days from the date of this Order;

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-(b), that

Comcast Communications, LLC, and any person or entity providing wire or electronic

communication service in the United States whose assistance may, pursuant to 18 U.S.C. §




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  Case 1:19-pr-00311-RMM
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           1:22-pr-09999-UNA        Document
                              Document       1-1 09/09/22
                                       90-1 Filed Filed 12/16/19  Page
                                                            Page 16     3 of 5
                                                                    of 23




3123(a), facilitate the execution of this Order shall, upon service of this Order, furnish information,

facilities, and technical assistance necessary to install the pen-trap device, including installation

and operation of the pen-trap device unobtrusively and with minimum disruption of normal

service;

         IT IS FURTHER ORDERED that Attachment A shall remain under seal even as to the

named Service Provider until further order of the Court, and therefore shall be withheld from

service upon the Service Provider;

         IT IS FURTHER ORDERED that the Agency reasonably compensate the Service Provider

and any other person or entity whose assistance facilitates execution of this Order for reasonable

expenses incurred in complying with this Order;

         IT IS FURTHER ORDERED that the Service Provider and any other person or entity

whose assistance may facilitate execution of this Order, notify the applicant and the Agency of

any changes relating to the SUBJECT ACCOUNT, including changes to subscriber information,

and to provide prior notice to the Agency before terminating or changing service to the SUBJECT

ACCOUNT;

         IT IS FURTHER ORDERED that the Agency and the applicant are authorized to have

access to the information collected by the pen-trap devices as soon as practicable, twenty-four

hours per day, or at such other times as may be acceptable to the Agency, for the duration of the

Order;

         IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(d)(2), that the Service Provider

and any other person or entity whose assistance facilitates execution of this Order, and their agents

and employees, shall not disclose in any manner, directly or indirectly, by any action or inaction,

the existence of the application and the Court’s Order, the pen-trap devices, or the investigation to




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                              Document       1-1 09/09/22
                                       90-1 Filed Filed 12/16/19  Page
                                                            Page 17     4 of 5
                                                                    of 23




any person, unless and until otherwise ordered by the Court, except that the Service Provider may

disclose the Order to an attorney for the Service Provider for the purpose of receiving legal advice;

       IT IS FURTHER ORDERED that the Clerk of the Court shall provide the United States

Attorney’s Office with three certified copies of this application and Order upon request, and shall

provide copies of this Order to the Agency upon request;

       IT IS FURTHER ORDERED that the application and this Order are sealed until otherwise

ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).




                                                      ____________________________________
                                                      UNITED STATES MAGISTRATE JUDGE




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Case     1:22-pr-09999-UNA
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                                  Document 1-1 09/09/22   Page 18
                                                Filed 12/16/19    of 23
                                                               Page   5 of 5




                             ATTACHMENT A
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    Case    1:22-pr-09999-UNA
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                                                   Filed 12/20/19  19 of 123of 5




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

IN RE APPLICATION OF USA FOR
PRTT ORDER FOR ONE RESIDENTIAL                     PR No. 19-pr-311
INTERNET SERVICE ACCOUNT
SERVICED BY COMCAST
COMMUNICATIONS, LLC FOR                            Filed Under Seal
INVESTIGATION OF VIOLATION OF
18 U.S.C. 2252 and 2252A
                                               ORDER

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submitted an application pursuant to 18 U.S.C. §§ 3122 and 3123, requesting that the Court issue

an Order authorizing the installation and use of a pen registers and trap and trace devices ("pen-

trap devices") on the residential internet service account identified as Account number

                      listed to

             (hereinafter "SUBJECT ACCOUNT"), which is believed to be used by one of more

persons identified in Attachment A.

       THE COURT FINDS that an attorney for the government has submitted the application

and has certified that the information likely to be obtained by such installation and use is relevant

to an ongoing criminal investigation being conducted by the Federal Bureau of Investigation

(hereinafter "Agency") of the person(s) indicated in Attachment A, which is incorporated into this

Order by reference, [and others as yet unknown or not fully identified,] in connection with possible

violations of Title 18, United States Code, Sections 2252 and 2252A, et seq. The Court further

finds that a sufficient showing of good cause has been made for the continued sealing of

Attachment A and for the government's withholding of Attachment A from service upon the

Service Provider, in order to help ensure the privacy of the person(s) identified therein and the

integrity of the government's investigation.
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